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                                                                                                    BS     / 192
                            IN THE UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF ARKANSAS
                                       NORTHERN DIVISON

RE: Chintan Patel                                                            CASE NO: 3:24-bk-10353 J
                                                                                           Chapter 13


                   MOTION TO DISMISS FOR FAILURE TO SUBMIT DOCUMENTATION



          COMES now Mark T. McCarty, Standing Trustee for Chapter 13 cases and for his Motion to

      Dismiss states:

          1. That an order was entered on 08/15/2024 requiring the debtor to file expense verification within

      21 days.

          2. That the Trustee has not been served with the documentation nor has the debtor requested an

      extension of time within which to make such documentation.

          WHEREFORE, your petitioner prays for an order dismissing this case and for all other just and

      proper relief.



Date: 09/16/2024
                                                                /s/ Mark T. McCarty
                                                               Mark T. McCarty,
                                                               Chapter 13 Standing Trustee

cc:    Chintan Patel
       773 Batesville Blvd
       Batesville, AR 72501

       Marc Honey (Noticed by ECF)
       P O Box 1254
       Hot Springs, AR 71902
